
706 S.E.2d 775 (2011)
STARK, et al.
v.
FORD MOTOR COMPANY.
No. 313PA10-1.
Supreme Court of North Carolina.
April 4, 2011.
K. Edward Greene, Raleigh, for Stark, Cheyenne Saleena et al.
Kirk G. Warner, Raleigh, for Ford Motor Company.
Robert L. Wise, for Ford Motor Company.
Adam Charnes, Winston-Salem, for Ford Motor Company.
Stephen J. Darmody, for National Association of Manufacturers, et al.
Andrew H. Erteschik, Raleigh, for NC Assoc. of Defense Attorneys and NC Chamber.
Burley B. Mitchell, Jr., Raleigh, for Product Liability Advisory Council.
William F. Womble, Jr., Winston-Salem, for Product Liability Advisory Council.
Steven B. Epstein, Raleigh, for N.C. Association of Defense Attorneys and the N.C. Chamber.
Hugh F. Young, Jr., for Product Liability Advisory Council.
Dan J. McLamb, Raleigh, for National Assoc. of Manufacturers, et al.
I. Beverly Lake, Jr., Raleigh, for Former N.C. Legislators H. Parks Helms, et al.
The following order has been entered on the motion filed on the 1st of April 2011 by K. Edward Greene for Admission of James L. Gilbert Pro Hac Vice:

*776 "Motion Allowed by order of the Court in conference, this the 4th of April 2011."
